                   NEW YORK STATE DEPARTMENT OF STATE
  DIVISION OF CORPORATIONS, STATE RECORDS AND UNIFORM COMMERCIAL CODE
                                           FILING RECEIPT

ENTITY NAME :                                ESPIRE ADS LLC
DOCUMENT TYPE :                              APPLICATION OF AUTHORITY
ENTITY TYPE :                                FOREIGN LIMITED LIABILITY COMPANY



DOS ID :                                     6485189
FILE DATE :                                  05/13/2022
FILE NUMBER :                                220514000589
TRANSACTION NUMBER :                         202205130003117-902155
EXISTENCE DATE :                             05/13/2022
DURATION/DISSOLUTION :                       PERPETUAL
COUNTY :                                     ERIE



SERVICE OF PROCESS ADDRESS :                 C/O LEGALINC CORPORATE SERVICES INC.
                                             1967 WEHRLE DRIVE, SUITE 1-086,
                                             BUFFALO, NY, 14221, USA
FILER :                                      WESLEY DOLAN
                                             LEGALINC CORPORATE SERVICES INC., 10601 CLARENCE DR.
                                             STE. 250
                                             FRISCO, TX, 75033, USA
SERVICE COMPANY :                            LEGALINC CORPORATE SERVICES INC.
SERVICE COMPANY ACCOUNT :                    QW




You may verfiy this document online at :     http://ecorp.dos.ny.gov
AUTHENTICATION NUMBER :                      100001565229


TOTAL FEES:                                $280.00       TOTAL PAYMENTS RECEIVED:            $280.00

FILING FEE:                                $250.00       CASH:                                 $0.00
CERTIFICATE OF STATUS:                       $0.00       CHECK/MONEY ORDER:                    $0.00
CERTIFIED COPY:                              $0.00       CREDIT CARD:                          $0.00
COPY REQUEST:                                $5.00       DRAWDOWN ACCOUNT:                   $280.00
EXPEDITED HANDLING:                         $25.00       REFUND DUE:                           $0.00
Filed with the NYS Department of State on 05/13/2022
  Filing Number: 220514000589 DOS ID: 6485189
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                                        Delaware                                          Page 1

                                                    The First State


         I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

  DELAWARE, DO HEREBY CERTIFY "ESPIRE ADS LLC" IS DULY FORMED UNDER

  THE LAWS OF THE STATE OF DELAWARE AND IS IN GOOD STANDING AND HAS A

  LEGAL EXISTENCE SO FAR AS THE RECORDS OF THIS OFFICE SHOW, AS OF

  THE THIRTEENTH DAY OF MAY, A.D. 2022.

         AND I DO HEREBY FURTHER CERTIFY THAT THE SAID "ESPIRE ADS LLC"

  WAS FORMED ON THE ELEVENTH DAY OF MAY, A.D. 2015.

         AND I DO HEREBY FURTHER CERTIFY THAT THE ANNUAL TAXES HAVE BEEN

  PAID TO DATE.




5745043 8300                                                                Authentication: 203424389
SR# 20221979831                                                                        Date: 05-13-22
You may verify this certificate online at corp.delaware.gov/authver.shtml
                                       Department of State
                                       Division of Corporations

                                                 Entity Information

                                              Return to Results     Return to Search

                                                                                                               !
 Entity Details

ENTITY NAME: ESPIRE ADS LLC                                       DOS ID: 6485189
FOREIGN LEGAL NAME: ESPIRE ADS LLC                                FICTITIOUS NAME:
ENTITY TYPE: FOREIGN LIMITED LIABILITY COMPANY                    DURATION DATE/LATEST DATE OF DISSOLUTION:
SECTIONOF LAW: LIMITED LIABILITY COMPANY - 802 LIMITED ENTITY STATUS: ACTIVE
LIABILITY COMPANY LAW - LIMITED LIABILITY COMPANY LAW
DATE OF INITIAL DOS FILING: 05/13/2022                            REASON FOR STATUS:
EFFECTIVE DATE INITIAL FILING: 05/13/2022                         INACTIVE DATE:
FOREIGN FORMATION DATE: 05/11/2015                                STATEMENT STATUS: CURRENT
COUNTY: ERIE                                                      NEXT STATEMENT DUE DATE: 05/31/2024
JURISDICTION: DELAWARE, UNITED STATES                             NFP CATEGORY:



             ENTITY DISPLAY    NAME HISTORY        FILING HISTORY      MERGER HISTORY   ASSUMED NAME HISTORY



 Service of Process Name and Address

  Name: C/O LEGALINC CORPORATE SERVICES INC.

  Address: 1967 WEHRLE DRIVE, SUITE 1-086, BUFFALO, NY, UNITED STATES, 14221



 Chief Executive Officer's Name and Address

  Name:

  Address:



 Principal Executive Office Address

  Address:
Registered Agent Name and Address

 Name:

 Address:



Entity Primary Location Name and Address

 Name:

 Address:



Farmcorpflag

 Is The Entity A Farm Corporation: NO


Stock Information


   Share Value                      Number Of Shares   Value Per Share
